Case: 3:19-cv-00135-NBB-RP Doc #: 24 Filed: 11/07/19 1 of 4 PagelD #: 78

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF MISSISSIPPI
OXFORD DIVIStON

Arjun Paudel Chhetri

}
}
Plaintiff }

v. ) Civil Action No.: 3:19CV-135-MPM-RP
)

The University of Mississippi, et al. )
)

Defendants ‘

PLAINTIFF’S RESPONSE TO THE UNIVERSITY APPOINTED COUNSEL’S
MOTION TO DISMISS
Case: 3:19-cv-00135-NBB-RP Doc #: 24 Filed: 11/07/19 2 of 4 PagelD #: 79

Plaintiff, Arjun Paudel Chhetri, s moving in front of this Honorable District Court
with a response to the university appeiited counsel’s motion to dismiss.

The plaintiff respectfully requests this Honorable District Court to deny the motion
as needless. There is no need to subinit motion te disiniss on the university behalf as the
plaintiff has clearly stated and as the university appointed counsel has clearly noted that
the plaintiff's lawsuit is directed towards university officials acting in their official
capacity-not towards the university, Voreover, the plaintiff respectfully did not reach the
merit of the motion as the motion is needless.

Finally, the plaintiff respectfully requests this Honorable District Court to proceed
the case on merit on defendants, Tracy Murry and Honey Ussery, acting in their official
capacity.

DECLARATION STATEMENTS

I, Arjun Paudel Chhetri (Plaintitf, declare uncer the penalty of perjury and under
the law of the United States and the States of Alabama that the above statements are true
and correct on the best of my know!edge, information, belief and experience. See 28
U.S.C. § 1746; 18 U.S.C. § 1621.

Date: November 3, 2019 Respectfully Submitted,

Ayugee-

Arjun Paudel Chhetri
Case: 3:19-cv-00135-NBB-RP Doc #: 24 Filed: 11/07/19 3 of 4 PagelD #: 80
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UNITED STATES DISTRICT COURT IN THE UNITED STATES DISTRICT COURT

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OXFORD DIVISION
Arjun Paudel Chhetri )
Plaintiff )
v. Civil Action No. 3:19CV135-MPM-RP
The University of Mississippi, et al.

Defendants )
PROOF OF SERVICE
I, Arjun Paudel Chhetri (Plaintiif), on November 3, 2019, place “Plaintiffs
Response to the University Appointed Counsel’s Motion to Dismiss” and “Proof of
Service” in the detention facility mailbox for regular mailing on the following

names and addresses:

1. United States District Court 2. Paul B. Watkins, Jr.. Esq.
Northern District of Mississippi Mayo Mallette PLLC
Oxford Division 5 University Office Park
Office of the Clerk 20¢4 Old Taylor Koad
911 Jackson Ave Suite 369 Post Office Box 1456
Oxford, MS 38655 Oxford, Mississippi 38655

I declare under the penalty of perjury that ine above siatements are true and

correct. See 28 U.S.C. § 1746; 18 U.S.C, § 1621.

Date: November 3, 2019 Respectfully Submitted,

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Axjud Paudel Chhetri
Case: 3:19-cv-00135-NBB-RP Doc #: 24 Filed: 11/07/19 4 of 4 PagelD #: 81

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